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12
                       UNITED STATES DISTRICT COURT OF CALIFORNIA
13
                                 EASTERN DISTRICT - SACRAMENTO
14
     Joy Garner, individually and on behalf of The      )   Case No.: 2:20−CV−02470−WBS−JDP
15
     Control Group; Joy Elisse Garner, individually )
     and as parent of J.S. and F.G.; Evan Glasco,       )
16                                                      )
     individually and as parent of F.G.; Traci Music, )     DECLARATION OF JOY GARNER IN
17   individually and as parent of K.M. and J.S.,           SUPPORT OF MOTION FOR
                                                        )   PRELIMINARY INJUNCTION, OR IN THE
     Michael Harris, individually and as parent of S.H.,)   ALTERNATIVE REQUEST FOR ORDER TO
18   Nicole Harris, individually and as parent of S.H., )   SHOW CAUSE
                                                        )
19                                                      )
                                 Petitioners,           )
20                                                      )
                                                        )   Date:        February 22, 2021
21          v.                                          )   Time:        1:30 PM
                                                        )   Courtroom:   5
22   DONALD JOHN TRUMP, in his official capacity )
                                                            Judge:       William B. Shubb
     as PRESIDENT OF THE UNITED STATES OF )
23   AMERICA,                                           )
                                                        )
24                                                      )
                                Respondent.             )
25                                                      )
                                                        )
26                                                      )
                                                        )
27                                                      )
                                                        )
28
                           GARNER DECLARATION ISO PRELIMINARY INJUNCTION
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 1                                         Joy Garner Declaration
 2 I, Joy Garner, hereby declare:
 3          1. I am a Petitioner in the above-entitled action. I have personal knowledge of the matters
 4 discussed herein, and if called as a witness could and would testify competently thereto.
 5
 6 Introduction
 7          2. All of the allegations made in the Petitions in this case are true and correct to the best of
 8 my knowledge. I have personally requested the relief outlined in the pleadings, as I do believe the
 9 survival of our Nation now hangs in the balance, such that, if the requested relief is not granted, our
10 Nation will ultimately collapse. Based upon the trajectories of increasing health and mental decay of
11 our Nation’s people, this end is drawing perilously near. The numbers clearly indicate this is the

12 truth of it. This trajectory toward collapse must be altered, and it must be altered soon. I am
13 respectfully, urgently, and most strongly requesting that the trajectories of increasing disease,
14 disabilities, and related deaths now suffered by the over 99% vaccine-exposed American population
15 (included in the PRJNs) be observed and acknowledged by this Court and by the Respondent, for
16 the truth they expose as to this Nation’s imminent fate.
17          3. In the early spring of 2019, I personally founded and began to operate The Control Group
18 (“TCG”), a not-for-profit organization whose mission is to survey the health of unvaccinated
19 individuals (unexposed scientific “controls”) by collecting their health data, i.e., all of their medical

20 and other professionally diagnosed conditions (“TCG American Survey”). The purpose of this
21 data-gathering effort was to numerically quantify health outcomes in entirely unvaccinated
22 Americans with a robust sample that would produce a statistically reliable dataset to represent this
23 population of interest. The survey to date, has achieved this outcome.
24          4. The TCG American Survey was prepared by me for one reason only: this litigation. I
25 made this clear on my website, personal conversations with participants, and even on the health
26 survey form itself, referring to “submitting these surveys as evidence in court.” In no way was the
27 survey designed to develop or contribute to "generalizable knowledge". It was designed to develop
28
                                                    -1-
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 1 and contribute solely as the admissible evidence in support of the specific Constitutional rights
 2 litigated in this case.
 3          5. I understand that vaccines are unavoidably unsafe, and I also understand that the
 4 government has never produced any documentation that explains, numerically, just exactly how
 5 unsafe they are. Words like “rare”, which is the slogan most-commonly used to describe the
 6 frequency of vaccine injuries, are subjective adjectives. They are not scientific terms in reference to
 7 unavoidably unsafe vaccines, and they provide precisely zero value in establishing a risk/benefit
 8 ratio for evaluating the public health value, or personal health-value, of the myriad mass-
 9 vaccination programs currently being deployed throughout the USA.
10          6. I am also aware that, at present, there are exactly zero recognized ‘experts’ in the field of
11 surveying numerical health data (statistical values) for entirely unvaccinated ‘controls’ currently

12 living in the USA, and certainly none that I am aware of, who know more about this particular
13 subject than I now do. As far as I can tell, that makes me the world’s “leading expert” in this unique
14 field of investigation, i.e., I am now the top ‘expert’ in surveying numerical health outcome data for
15 entirely unvaccinated Americans (true scientific controls) across the USA. If an expert of superior
16 knowledge in this particular arena exists, they’ve yet to make themselves known as such, let alone
17 produce the data required to support such a claim. 1 2
18          7. I am not a doctor and I’ve made no attempt to diagnose any conditions here. This being a
19 retrospective study of observed health outcomes and exposure, or lack thereof, the data represents

20 the reported medical diagnoses already given by medical professionals in the field of diagnosing
21 conditions. I’ve merely collected and counted the number of conditions reported in a robust sample
22 of this unexposed population from across 95% of the American states, (and 5 other Nations as well).
23 All of the statistical equations I’ve employed in the evaluations seen in my attached reports
24   1
       “The scientific method of examining facts is not peculiar to one class of phenomena and to one
25   class of workers; it is applicable to social as well as to physical problems, and we must carefully
     guard ourselves against supposing that the scientific frame of mind is a peculiarity of the
26   professional scientist.” - Karl Pearson
     2
       “It appears to me that those who rely simply on the weight of authority to prove any assertion,
27   without searching out the arguments to support it, act absurdly. I wish to question freely and to
     answer freely without any sort of adulation. That well becomes any who are sincere in the search
28
     for truth.” - Vincenzo Galilei
                                                   -2-
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 1 (Exhibits B, C, & D) are standard and accepted methods in this field, and they are all fully disclosed
 2 and explained in the reports. All of the math can easily be replicated for verification, and much of it
 3 is no more complex than the math most people learned (or should have learned) in the 5th grade.
 4          8. For example, only 76 of 1,272 children surveyed (5.97%) experienced a chronic health
 5 condition. By contrast, national data of the over 99% vaccinated population shows chronic illness is
 6 estimated at 27% bare minimum, and 54% conservatively. And this pattern is repeated over and
 7 over and over – diabetes (0% in the unvaccinated v. 10% in the vaccinated), digestive disorders
 8 (0.4% in the unvaccinated v. 18% in the vaccinated), ADHD (0.47% in the unvaccinated v. 9.4% in
 9 the vaccinated). The pattern is obvious. It leaps from the page. If you’re as smart as a 5th grader,
10 you can see plainly that vaccines are causing chronic illness.
11          9. The statements made, and the numbers provided in the attached exhibits (Exhibits A, B,

12 C, D, E, & F) are true and correct to the best of my knowledge. Exhibits E & F are National data
13 graphs prepared from Petitioners’ Requests for Judicial Notice, which exhibits I and Petitioners’
14 experts relied upon to visualize the corroborating numerical proof that vaccines caused the chronic
15 illness pandemic in America (Exh. E), and that in the 20th Century it was actually improved living
16 conditions (rather than vaccines) that is responsible for reductions in mortality rates (Exh. F).
17          10.     Because none of our institutions have been willing to apply the most fundamental,
18 actually the most critical and only relevant scientific method required to numerically determine the
19 risks associated with vaccine exposure (which absolutely requires a comparison of health outcomes

20 between entirely unexposed “controls” and the vaccinated “herd”) it was necessary for a private
21 Citizen to take up the task in order to arrive at the correct answers. Someone had to conduct this
22 obviously-critical study, since none of our government agencies have bothered to count the existing
23 evidence, i.e., they’ve never bothered to tally up the injured and fallen in order to understand the
24 actual public health cost of these mass vaccination programs in the USA.
25          11.     This action seeks declaratory and injunctive relief to prevent further injury to both
26 personal and public health, and to bring about an end to discrimination which is based solely upon
27 an American Citizen’s refusal to submit to the demands of the pharmaceutical industry. It is not
28 premised upon proving any one injury, nor does it seek recompense for such. Therefore, the only
                                                   -3-
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 1 ultimate evidence relevant to the requested relief, is numerical data which can answer the question:
 2 “How frequently do vaccines injure Americans?” Short-term and otherwise-limited vaccine trials
 3 and the VAERS numbers, (which are demonstrably over 99% incorrect) have ultimately zero
 4 relevance to the only final question here. And such unreliable VAERS and short-term clinical trial
 5 numbers, don’t even pretend to address the question of long-term health outcomes, and the
 6 consequent cost to public health. However, the TCG American Survey evidence provided herein, is
 7 relevant to, and directly answers (with an extremely high level of reliability) the only question that’s
 8 relevant to the relief requested. How many victims?
 9
10 Epidemiology is SIMPLE
11          12.    My inspiration for this particular survey approach, (or product safety survey) is ‘John

12 Snow’, who is still widely regarded as the “father of modern epidemiology”. 3 Snow’s basic
13 reasoning and scientific methodology still hold true in all branches of epidemiological toxicology
14 sciences today. It comes down to exposure vs. non-exposure. Without this basic foundation, there is
15 no method of definitively establishing causation for anything in aggregated populations.
16          13.    When it came to locating the cause of cholera outbreaks in England, for Snow it was
17 a simple process of documenting biological exposures, or lack thereof (to certain water sources) and
18 documenting who did, or did not, get sick. A sampling of people who did, or did not, drink from
19 particular water sources, coupled with reports on their health outcomes, exposed the cause. Snow

20 found that people who didn’t drink from the suspected water source had considerably lower rates of
21 cholera than those who did drink from the suspect source. And sure enough, when the cistern was
22 thusly-traced, it was found to be seriously contaminated. Once it was cleaned up, the cholera
23 problems were ameliorated.
24          14.    Entirely excluding the suspected source as a possible cause, proved the cause. 4
25 Snow’s detractors called him “crazy” when he first began to make his case. If the owners of the bad
26
27   3
    See: https://www.ph.ucla.edu/epi/snow/fatherofepidemiology.html
     4
    “The scientific method is the ultimate elegant explanation. It is the ultimate foundation for
28
   anything thing worthy of the name ‘explanation’.”- Nathan Myhrvold
                                                   -4-
                                         JOY GARNER DECLARATION
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 1 water sources had held hefty sway over, (or controlled) all public health agencies and polices, as
 2 well as holding excessive power over the rest of England’s governing authorities, many more
 3 people would have died before the problem was solved, or maybe it would never have been solved.
 4 In such a scenario, Snow would have been effectively laughed out of town for his “crazy” ideas, or
 5 perhaps even jailed, while the population continued to be decimated. 5     6 7 8 9 10


 6          15.     I located and utilized the most authoritative sources available for determining the
 7 size of the population of interest for study, (the number of entirely unexposed controls) so that I
 8 could determine an appropriate sample size that would represent this population as accurately as
 9 possible. For particular years, from which the CDC’s published records have established trend-lines,
10 I was able to calculate that in 2020, there were approximately 830K entirely unexposed
11 (unvaccinated) people living in the USA, in all age groups.11 In gathering the data on the controls, I

12 employed strategies that were, to my best logic, most capable of producing a random and robust
13 sample across the USA.
14          16.     In the end, the use of standard and accepted statistical analyses of the dataset did
15 confirm that these goals were heartily achieved, producing a 99% confidence level that the sample
16   5
       Note: Snow’s theory (that drinking polluted water caused illness) was hotly rejected by the
17   ‘consensus’ as Snow initially fought his uphill battle. Now the Pharma-funded consensus assumes
     that injecting toxic chemicals, mercury, aluminum salts, cancer tumor cells, foreign animal &
18   human DNA/RNA, and lab-created, artificial-lifeforms with entirely new coding, etc., is almost
     incapable of injuring human health.
19   6
       “Scientific method is very important to me. I think anything that contradicts it is probably not
     true.” - John Astin
20   7
       “The scientific method actually correctly uses the most direct evidence as the most reliable,
21   because that's the way you are least likely to get led astray into dead ends and to misunderstand
     your data.” - Aubrey de Grey
     8
22     “To the academic mind, authority is everything, and facts are junked when they do not fit theory.”
     - Robert A. Heinlein
23   9
       “Science is one way of forcing us, kicking and screaming if necessary, to modify our views.” -
     Carol Tavris
24   10
        “Science is not, as so many seem to think, something apart, which has to do with telescopes,
25   retorts, and test-tubes, and especially with nasty smells, but it is a way of searching out by
     observation, trial and classification; whether the phenomena investigated be the outcome of human
26   activities, or of the more direct workings of nature's laws. Its methods admit of nothing untidy or
     slip-shod; its keynote is accuracy and its goal is truth.” - Archibald Garrod
27   11
        See attached Full Report at www.thecontrolgroup.org for specifics on data/values, calibrations,
     progression and regression models, etc., which were utilized to determine the size of the population
28
     of interest according to year-of-birth/ages.
                                                    -5-
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 1 means (based upon the percentage of controls who reported at least 1 condition) produced an
 2 interval of only (5.95,5.99). This is a variance of only 0.04%, and in other iterations or expressions,
 3 reflects (exposes) the error-rate of this dataset. It’s a very small potential error.
 4             17.    The exceptional level of confidence (in such a small interval of potential error here),
 5 is clearly due to the 48 State coverage, the robust sample rate, (far exceeding sample/fraction rates
 6 typically relied upon by our public health agencies for their National surveys), and the logical
 7 methods deployed, which I had reasoned, were most likely to produce a random sample. A robust
 8 sample rate, even standing alone, is assumed to produce a more accurate dataset, so this was clearly
 9 an imperative. Here, the mathematical audit and analyses demonstrate that these goals were met.
10 The statistical evaluation of the dataset also evidences the high level of reporting accuracy from the
11 participants, because the normal distribution and statistical convergence (across 48 states) is not

12 otherwise explainable.12
13             18.    During the survey period, I utilized standard and regular practices to carefully
14 receive and maintain all TCG American Survey materials as business records, which I detailed in
15 the 83-page Full Report of the 1st phase Control Group Pilot Study, (“Statistical Evaluation of
16 Health Outcomes in the Unvaccinated”) during the 1st half of 2019, and the last half of 2020. 13 I
17 worked hard to achieve admissibility for the pilot survey evidence here:
18         A. I have experience running businesses and offices, and I know what is required to comply
19             with the business records rule. I did my best to follow the rule here. The TCG American

20             Survey is not operated as a business for profit, but rather operated by me with utmost
21             professionalism as a nonprofit business/organization at my own expense (and indeed I have
22             made no profit and received no compensation; I have received a small number of small
23             donations from private Citizens, which have not even covered my costs, which is fine
24             because this survey is a labor of love for truth). I was not required to apply for tax-exempt
25             status, so I chose (I think wisely) to forego spending time, energy, and expense doing so.
26             My focus has never been upon money (i.e., donations or income) but rather my focus is
27
     12
          See Full Report for all standard statistical formulas and their applications to this dataset.
28   13
          The Full Report and all related materials are available at: https://www.thecontrolgroup.org/
                                                      -6-
                                            JOY GARNER DECLARATION
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 1        upon independent scientific inquiry to produce reliable data for court, that any scientist or
 2        layman can analyze objectively.
 3     B. Each of my records was made and kept by me in my course of regularly conducted business
 4        activity for the TCG American Survey. In other words, I made it my policy and practice to
 5        faithfully and diligently maintain all survey forms and record all data with an orderly system
 6        of organized files, well-kept boxes, and secure computer records. I systematically rechecked
 7        my entries to verify data was input correctly. Each report that I authored was done in my
 8        regular course to explain the data and its implications. Finally, results were transparently
 9        published at the website https://www.thecontrolgroup.org per my stated goal and policy.
10     C. At all relevant times to the survey, my records were routinely made and kept in the course of
11        the survey business, which was in The Control Group’s usual practice.

12     D. Records were made and maintained at or near the time of the relevant event that it records.
13        For example, survey responses were filled out in real time by participants, and mailed to me
14        in real time in order to meet a deadline that I made it my practice to advise participants (i.e.,
15        on the website), and upon receipt I duly processed such files in the method referenced herein
16        (i.e., diligently filing, boxing, data entry, data analysis, report writing).
17     E. Each TCG American Survey record presented to this Court was made by me with personal
18        knowledge in the regular course of this survey.
19     F. TCG American Survey participants were asked for their then-existing physical conditions

20        (i.e., medical diagnoses, age) and then-existing mental state (i.e., confidence rating). Survey
21        responses were provided in the form of personal history (for adult participants) or family
22        history (for parents/guardians). Given the standard traditional survey procedure utilized here
23        (responses handwritten and mailed in with unique hand placed stamps, and postmarks), each
24        response was provided with a sufficient guarantee of trustworthiness, and each response is
25        more probative of the point for which it is offered than any other evidence that I could
26        obtain elsewhere through reasonable efforts (for example, I was required for practical and
27        legal reasons to respect survey participant privacy, but I still successfully ensured a record of
28        genuineness because of each person’s individual and unique handwriting, their individual
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 1          and unique envelopes (stamps and postmarks), and the customized way that individuals
 2          handwrote diagnoses rather than simply checked a box). I am confident in my methodology
 3          and results as a scientifically repeatable survey experiment, and indeed I am explicitly and
 4          eagerly calling for a follow-up national survey that can further test and verify my findings
 5          (which findings are also supported by a large amount of corroborating evidence provided
 6          herewith in the form of Petitioners’ Requests for Judicial Notice).
 7          19.     I personally authored all of the materials attached to this declaration as exhibits, with
 8 the one exception of the graphics design for the Comparison Graphs, (Attached hereto as Exhibit A)
 9 which shows health outcomes for Vaccinated vs. Unvaccinated populations living in the USA.
10 These graphs, (Exh. A) were finalized by a graphic artist, using the numerical results I prepared
11 from the Control Group dataset for the baseline risk values of those reporting no exposure to

12 vaccines, (post-birth) and/or the stratified subsets with exposure to other related (and noted)
13 pharmaceutical products. The values and risk factors expressed in the Comparison Graphs (Exh. A)
14 are a true and correct representation of the TCG American Survey dataset. Where risk values are
15 based upon National statistics, those statistics are the actual numbers made available to the public
16 by our health authorities at this time. I have personally confirmed these published numbers on
17 official government websites as noted, although in some instances, there could be more recent
18 National statistics now available than are noted.
19          20.     I located universally-accepted and standard statistical formulas appropriate to causal

20 analysis, and also in determining the accuracy of the TCG American Survey dataset itself. To the
21 best of my ability, I have correctly run the mathematical equations used to arrive at the statistical
22 valuations seen in the 17 page “Summary and Guide to: The Control Group Pilot Study”, attached
23 hereto as Exhibit B, as well as those in the 83-page Full Report, titled “Statistical Evaluation of
24 Health Outcomes in the Unvaccinated”, attached hereto as Exhibit C. The supporting raw dataset is
25 also available at www.thecontrolgroup.org., listed as “Raw Dataset” for download (and which is
26 attached to the concurrently submitted declaration of the survey expert Dr. Pebsworth who validated
27 the TCG American Survey).
28
                                                    -8-
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 1          21.     An exhaustive listing of all details relating to construct validity, methodology,
 2 formulas, and the numerical results of this study, are seen in the aforementioned 83-page Full
 3 Report. The accuracy of the formulas and values contained in the various analyses, along with their
 4 sources, can swiftly be independently validated, because they are easily-repeatable using almost any
 5 scientific calculator and basic math.
 6          22.     I also personally researched and authored the “Critical Risk Assessment of
 7 Vaccination in the USA – National Security”, a sample of the first 5-pages of which, is attached
 8 hereto as Exhibit D. The full 45-page report is published at https://www.thecontrolgroup.org/ for
 9 review. All references therein, including, and in particular, the U.S. Pentagon Report noting that,
10 71% of Americans between the ages of 17 and 24 are found to be unfit for military service, are
11 correct as cited. The conclusions to be drawn from this body of evidence are axiomatic and are in no

12 way dependent upon my comments or characterizations.
13          23.     Materials available at The Control Group website include: (1) The full 45-page
14 “Critical Risk Assessment [ ]” ; (2) The 17-page Summary of the Control Group Pilot Study; (3)
15 The 83-page Full Control Group Pilot Study Report: “Statistical Evaluation of Health Outcomes in
16 Unvaccinated”; (4) Comparison Graphs of “Vaccinated vs. Unvaccinated” and; (5) the Survey
17 Intake Sheets & Health Survey Sheets.
18          24.     In the Summer of 2020 I personally input all of the survey data in Excel
19 spreadsheets, which allowed me to readily categorize and search results.

20          25.     As highlighted above, I have maintained all survey sheets and envelopes with an
21 orderly system of boxes, with each of the participants having a unique assigned number, at my
22 residence in California.
23          26.     On American Independence Day, July 4, 2020, I completed my tabulation of the
24 results to that date from the TCG American Survey.
25          27.     My survey results were later independently validated by the survey expert Dr.
26 Pebsworth.
27          28.     In November of 2020, I completed a revised and expanded 83-page report to provide
28 additional detail, clarity, and a more carefully-audited precision of the findings. The attached
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 1 exhibits, and the currently-published materials on The Control Group website, represent the most
 2 complete and recent data relevant to the TCG American Survey Pilot Study and Evaluation of the
 3 Results.
 4
 5 Correlation is not Causation?
 6          29.     This oft heard pharma-argument (in defense of vaccines) has no application in the
 7 face of the evidence presented here. In this particular instance, the numbers for the observed health
 8 outcomes prove far more than a mere “correlation”. They confine any other explanation to the
 9 implausible, or basically impossible. This fact is evidenced in the p-values (and odds) as applied in
10 the outcome comparison graphs between the exposed and unexposed populations. (See attached
11 Exhibit A.) If one were to find such odds presented in a criminal prosecution as against innocence

12 (using forensic evidence for example) it goes without saying, these odds would swiftly remove any
13 reasonable doubts as to the suspect’s guilt, particularly when joined with opportunity and motive,
14 which is clearly present here. These numbers do not merely express a “likelihood” of something
15 being true. They’ve effectively eliminated any reasonable doubt as to that truth.
16          30.     We already know vaccines are fully capable of causing injury and even death. This is
17 the reason vaccines are formally categorized as “unavoidably unsafe” under our system of laws in
18 the USA. The only question that remained unanswered was the frequency of injuries. And given the
19 saturation of the American population with exposure to this class of product, there was only one

20 logical method at arriving at the answer, i.e., the exclusion of vaccines as a possible cause of health
21 outcomes for comparison against those observed in the exposed population. This was the method
22 employed for the TCG American Survey.
23          31.     I am requesting that this Court, and the Respondent in this case, examine the actual
24 evidence, the numbers, and while doing so, to please find the temerity to silence the cacophony of
25 ‘expert’ slogans and unsubstantiated opinions that consistently attempt to obfuscate the truth of this
26 matter. Because no pharma-funded medical institutions, nor any of our public health agencies have
27 ever bothered to collect or study the health-data of scientific controls, i.e., those who are entirely
28 unexposed to vaccines, their noises are merely opinions. They are not evidence. And these opinions
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 1 are not based upon any data that’s capable of answering the question: “How many injuries and
 2 deaths are vaccines responsible for in the USA?”
 3          32.     I am pleading with this court, and with my POTUS, Donald J. Trump, to recognize
 4 and publicly acknowledge the truth of what is happening to our Nation’s people, and consequently,
 5 to our Nation, at the hands of the Pharmaceutical industry and its many servants who’ve infiltrated
 6 so many of our institutions. I plead for relief, for myself, my loved ones, and my Nation. I plead
 7 with this Court, and the Respondent in this case, to immediately take any and all actions required
 8 and available to prevent further damage, and to use all powers, which this Nation’s people have
 9 entrusted to these offices, to halt, and then reverse this suicidal course.
10          33.     I love this Nation and its people. This Nation is the only home I know, and there is
11 no limit as to how badly the rest of the world would fair, if it were to fall. The loss of this Nation,

12 through this ongoing physical destruction of its people, represents a loss too grievous to adequately
13 articulate, and this approaching loss is both inevitable and imminent if our current trajectory is not
14 altered immediately. If this loss were to be completed, it would be irreparable, for me personally,
15 for all those I love, and for the world. As Ronald Reagan once said: “[ ] a thousand years of
16 darkness”.
17
18 THE DESTRUCTION OF EVIDENCE
19          34.     As detailed, cited, referenced, and evidenced in the attached Exhibit C “Statistical

20 Analysis of Health Outcomes in the Unvaccinated” Full Report, and also in the PRJNs filed
21 concurrently with this Petition, the pharmaceutical industry (and its many beneficiaries) are
22 currently on an urgent mission to eliminate any remaining scientific controls/evidence by assuring
23 that every man, woman, and child in this nation is injected with as many of their products as
24 possible. And they are most adamant that this be completed as swiftly as they can manage. The
25 devices employed to achieve this end include, but are not limited to, pressures to literally
26 criminalize the act of citizens avoiding injections with their vaccine products, pressures to further
27 segregate and discriminate against those who reject their vaccine products, and copious propaganda
28 campaigns engineered to incite public outrage against those who avoid their vaccine products.
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 1          35.     It has now become fashionable to refer to people who’ve refused even one of
 2 pharma’s many injectable vaccine products, as “unvaccinated” in an attempt to categorize all people
 3 who dare hesitate to inject any of their latest drugs as “selfish” or “crazy”, even accusing them of
 4 being “killers” who must have their children confiscated and face imprisonment. 14
 5          36.     These efforts are clearly not motivated by concern for the small and exceptionally-
 6 healthy population who’ve thus-far avoided their wares. No. It is only a desperate attempt to bury
 7 the remaining scientifically-relevant evidence, the only evidence that can definitively answer the
 8 question: How many victims? It is well understood that without a baseline of true controls for
 9 comparison, the scientific method cannot be employed, and the truth may forever remain buried.
10
11 DISCRIMINATION

12          37.     I have personally witnessed the stresses of the constant threats my daughter’s family
13 is under for their refusal to submit to their children to the demands of the pharmaceutical industry,
14 i.e., their refusal to inject them with vaccines, which the evidence shows, would more likely than
15 not (over 50% chance) doom them all to a future of rapid health decay, while also subjecting them
16 to obscenely high risks of short term injuries, disabilities, and/or even death, because these risks are,
17 mathematically, at least 99% higher than the VAERS numbers reflect.15 As a direct result of this
18 abusive and systemic discrimination, my healthy 9 year-old granddaughter ‘J. S.’ has been denied
19
     14
        Jail Anitvaxxers https://www.usatoday.com/story/opinion/2015/01/27/jail-anti-vax-parents-
20
     vaccines-cdc-measles-disney-world-california-column/22420771/ Here’s How to Tackle the Covid-
21   19 Antivaxxers https://www.theguardian.com/commentisfree/2020/nov/26/heres-how-to-tackle-the-
     covid-19-anti-vaxxers Antivaxxers are Dangerous. Make them face isolation, fines, arrests.
22   https://www.washingtonpost.com/opinions/2019/04/30/time-get-much-tougher-anti-vaccine-crowd/
     15
        The Vaccine Adverse Event Reporting System captures and reports less than 1% of the injuries
23   that occur shortly after vaccination. See: “Adverse events from vaccines are common but
     underreported, with less than one percent reported to the Food and Drug Administration (FDA).
24
     And: “New surveillance methods for drug and vaccine adverse effects are needed.” (Emphasis
25   added.) Electronic Support for Public Health - Vaccine Adverse Event Reporting System
     (ESP:VAERS) (Massachusetts) Performing Organization: Harvard Pilgrim Health Care, Inc. -
26   Submitted to: The Agency for Healthcare Research and Quality (AHRQ) U.S. Department of Health
     and Human Services. At: https://digital.ahrq.gov/sites/default/files/docs/publication/r18hs017045-
27   lazarus-final-report-2011.pdf NOTE: This study, exposing the 99% failure rate of the VAERS,
     was intentionally concealed from public view under the Obama administration, and nothing
28
     changed over at the FDA or the VAERS under his administration as a result of these findings.
                                                   - 12 -
                                          JOY GARNER DECLARATION
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 1 the opportunity to continue attending a fine school of her choice, which she was very happy at. And
 2 my daughter’s career prospects are also severely limited, due to the fact her now 2 year-old son, my
 3 beloved grandson, is unable to attend any licensed daycare. These same conditions also exist in the
 4 other most-populated States in the USA, and in all States, to greater or lesser degrees, all of which
 5 appear to be increasing both discrimination and segregation against those who refuse to be injected
 6 with this class of pharmaceutical, i.e., vaccines. The latest threatened mass vaccination is the
 7 experimental Covid-19 vaccination, which has created an even more heightened level of immediacy
 8 for the relief requested. Our Nation is on the brink, and my family and I are forced to maneuver
 9 around the myriad and ever-changing laws and policies that attempt to hunt us down and inject us
10 with experimental vaccines.
11

12 NO JUSTIFICATION FOR DISCRIMINATION OR SEGREGATION
13          38.     Even if vaccines were not injuring most people who receive them, as the evidence
14 does show they are now doing, there would still be no compelling state interest served in
15 segregating or discriminating against those who do not comply with Pharma’s demands for more
16 vaccine sales. This is because a person must first be infected with an agent before they can spread it.
17 And there is a massive body of evidence which demonstrates that the vaccine-exposed population
18 sheds (code for spreads) the very same agents they’ve been injected with, which exposes the fact
19 vaccinated people present the greater danger of transmission to others.

20          39.     The absurd conclusion a child (or any person) presents a ‘danger’ to public health,
21 merely because they’ve yet to be injected with (or infected with) disease-causing agents, is in part,
22 what causes this discrimination against my grandchildren, which discrimination has deprived them,
23 and their parents, of their rights. There is no evidence that I, my healthy grandchildren, or their
24 parents, have ever presented a threat to the health of anyone else, merely due to our failure to get
25 injected with all of pharma’s latest injectable products. Being stripped of rights as retribution for
26 refusing pharma products, without any pretense of due process in the act, could not be more
27
28
                                                  - 13 -
                                         JOY GARNER DECLARATION
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 1 unconstitutional, particularly when the evidence shows the purported government interest (in
 2 protecting public health) results in the antithesis of the government’s claimed objective. 16 17
 3          40.     The sheer horror at the prospect of being forced to subject myself and my progeny to
 4 the obvious risks of vaccination, (carrying an almost certain 60% risk of chronic illness, including a
 5 48% risk of heart disease, 10% risk of diabetes, 15% risk of arthritis, etc.,) through these
 6 increasingly abusive coercions, each of which progressively eliminates one protected right after
 7 another, has resulted in untold emotional and other stresses, including many sleepless nights that I
 8 have personally suffered. These stresses are far worse when I find I’m unable to take my mind off
 9 of the larger implications for this Nation’s people, and for the future of this entire Nation.
10
11

12   16
        A very well referenced collection of citations for this evidence is available at:
13   https://www.westonaprice.org/studies-show-that-vaccinated-individuals-spread-disease/
     17
        The object of the Covid-19 vaccine is narrowly defined as “reducing” the symptoms of infection,
14   with no goal, or claims of any goals, that these new vaccines will in any way reduce transmission or
     infection rates. And the evidence shows that injection with these vaccines (current trials) increases
15   both the rate of infection (to 100% certainty for those who receive the vaccine) and it exponentially
     increases the number and severity of infectious symptoms (fever, lung challenges, extreme physical
16   pain, etc.) over the symptoms of disease that one is likely to suffer if one is naturally exposed. It is
17   now widely reported that 80% of young and health people who are naturally exposed to CV-19
     recover with no symptoms at all. See: 80% of people in this age group are asymptomatic -
18   https://www.msn.com/en-us/health/medical/80-percent-of-people-in-this-age-group-are-
     asymptomatic/ar-BB15zLMB However, in Moderna’s CV-19 vaccine trials, (touted as the most
19   ‘promising’) only young and health subjects are tested/injected, and 80% of these subjects
     experience negative symptoms of infection with the 1st dose, with 100% expressing even more
20
     severe symptoms of infection on the 2nd dose. Also see: Admissions from Moderna’s chief medical
21   officer, Tal Zaks at https://bestlifeonline.com/covid-vaccine-second-dose/ It is logical to assume
     that these now-infected/vaccinated people will shed/spread more of these infectious agents to those
22   who are older and more vulnerable, than those who were exposed but whose immune systems
     effectively eliminated the virus from their own systems. One of the touted “benefits” of the new
23   DNA-altering CV-19 vaccines, is their ability to override the human immune system’s early
     response to these infectious agents, thereby causing a heavier viral load, which it is claimed,
24
     increases the potential to further “immunize” that person, by bringing about the fullest possible
25   expression of the infection upon the 2nd dose. This method is appreciated within this industry for its
     ability to lower the cost and time required to grow more of these infectious agents, because it costs
26   more to do it in a lab. To the delight of these vaccine-makers, it has been discovered that humans
     can more effectively and cheaply propagate these infectious agents inside of their bodies once their
27   immune systems have been “tricked” into allowing this to happen. The “plan” is to inject this
     entirely new vaccine into 100% of the population before any long-term evaluation of its effects can
28
     be investigated. This is “warp-speed” medicine.
                                                   - 14 -
                                          JOY GARNER DECLARATION
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 1          41.     All across this Country there is now a growing and ominous fear that all normal
 2 activities, such as earning a living, shopping, travel, education, (even homeschooling) etc., will soon
 3 become contingent upon every man, woman, and child, being injected with a brand-new DNA-
 4 altering vaccine, (Covid-19) the long-term effects of which are entirely unknown, combined with
 5 tracking mechanisms and “certificates”. These fears are not based in any paranoid delusion. They
 6 are rational fears which are based upon listening to the words of many powerful people, lawmakers,
 7 and heads of powerful organizations, who routinely speak openly about, and prepare for, this, their
 8 stated objective for us all. 18
 9          42.     It is time to fully expose and end this nightmare. Let the chips fall where they may,
10 and pharma profits be damned. Any who still fantasize they can permit this agenda to advance
11 without fear they will personally be affected, are kidding themselves. Those at the top of this agenda

12 are now specifically targeting those who’ve been the most helpful in promoting it, protecting it, and
13 facilitating the execution of it.
14
15 ORDER TO SHOW CAUSE
16          43.     I am asking this Court to issue an order to show cause why a nationwide injunction
17 against all forms of discrimination based upon vaccination status, should not issue. Given the
18 “warp-speed” introduction of an entirely new DNA-altering vaccine and the government-endorsed
19 plan to inject it into most, or all of us before its long-term effects can even begin to be investigated,

20 the situation is direr and more urgent. The Petitioners and the people of this Nation, require
21 immediate protection from the two branches of government which now imminently threaten their
22 very survival, and the survival of this Nation.
23
24   18
        SEE: https://www.frommers.com/blogs/arthur-frommer-online/blog_posts/first-airline-confirms-
25   covid-vaccination-will-be-required-to-fly And: https://biohackinfo.com/news-bill-gates-id2020-
     vaccine-implant-covid-19-digital-certificates/ Although many are accused of being “conspiracy
26   theorists” for repeating the words that are coming out of the mouths of those who are planning, and
     actively preparing for, this dystopian future for us all, there is nothing “paranoid” about simply
27   listening to what these people tell us they are planning, nor is there anything paranoid about
     observing their preparations. The plain meaning of their words are quite clear, and their actions are
28
     even clearer.
                                                   - 15 -
                                          JOY GARNER DECLARATION
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                   Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                        Unvaccinated Population
                                                                                                                                            Risk Factor in Total Population = 5.97%
                                                                                                                                            This pilot survey provides numerical proof that
                                                                                                                                            vaccines are causing an exponential increased
                                  30        27%                                                                                             odds that this large control group of unvaccinated
                                                                                                                                            children (as featured on this chart) would be
                                                      Chronic Conditions,                                                                   exponentially healthier than vaccinated children by
Percent of People with Disorder




                                  25

                                                      Children
                                                                                                           Multiple Chronic
                                  20
                                                                                                                                            calculation is supported by the p-value 1.18E-83.
                                                                                                                                            See full report for detailed explanation.
                                   15                                                                      Conditions, Children
                                                                                                                                            Subsets - Chronic Conditions
                                                                                                                                                  13.32% (risk factor within the subset group that
                                   10              5.97%                                                                                          received the K-shot and/or pregnancy vaccination)

                                       5
                                                                                                       6.66%                                      2.25% (risk factor within the subset group
                                                                                                                                                  unexposed to the K-shot and pregnancy vaccination)

                                        0                                                                                0.94%              Risk Factor in Total Population = 0.94%
                                                                                                                                            This pilot survey provides numerical proof that
                                                                                                                                            vaccines are causing an exponential increased risk

                                                                                                                                            that this large control group of unvaccinated children
                                                                                                                                            (as featured on this chart) would be exponentially
                                                                                                                                            healthier than vaccinated children by mere chance: 1 in


                                                                                                                                            detailed explanation.
                                                  “The cure cannot be worse than the problem itself.”
                                                   - President Donald J. Trump, October 22, 2020, Presidential Debate                       Subsets - Multiple Chronic Conditions
                                                                                                                                                  2.57% (risk factor within the subset group that
                                                                                                                                                  received the K-shot and/or pregnancy vaccination)

                                                     U.S. National data for approximately 99%+ Vaccinated Population                              0.12% (risk factor within the subset group
                                                                                                                                                  unexposed to the K-shot and pregnancy vaccination)

                                                     Pilot survey data for 100% Unvaccinated Control Group
                                                        Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                         finite population correction. Please see full report for all sample
                                                        Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                             1                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                                 Unvaccinated Population
                                                                Vaccinated versus Unvaccinated                                                       Risk Factor in Total Population = 5.71%
                                                               2020 Pilot Survey Data Comparison                                                     This pilot survey provides numerical proof that
                                            60%   Chronic Conditions,                                                                                vaccines are causing an exponential increased risk

                                  60
                                                  Adults                                                                                             that this large control group of unvaccinated adults
                                                                                                                                                     (as featured on this chart) would be exponentially
                                                                                                                                                     healthier than vaccinated adults by mere chance: 1
Percent of People with Disorder




                                  50
                                                                                         2 Chronic Conditions,
                                                                         42%             Adults                                                      See full report for detailed explanation.
                                  40
                                                                                                                                                     Subsets - Chronic Conditions
                                                                                                                                                         12.50% (risk factor within the subset group that
                                   30                                                                                                                      received the K-shot and/or pregnancy vaccination)
                                                                                                                         5 Chronic Conditions,             4.49% (risk factor within the subset group
                                                                                                                                                           unexposed to the K-shot and pregnancy vaccination)
                                   20                                                                                    Adults
                                                                                                                                                     Risk Factors in Total Population = 0.95%
                                                  5.71%                                                                                              This pilot survey provides numerical proof that vaccines
                                                                                                                                                     are causing an exponential increased risk of chronic
                                       10
                                                                                                                       12%
                                        0
                                                                                     0.95%                                                           control group of unvaccinated adults (as featured
                                                                                                                                                     on this chart) would be exponentially healthier than
                                                                                                                                0.0%
                                                                                                                                                     full report for detailed explanation.
                                                                                                                                                     Subsets - 2 Chronic Conditions
                                                                                                                                                         3.13% (risk factor within the subset group that
                                                                                                                                                           received the K-shot and/or pregnancy vaccination)
                                                                                                                                                           0.56% (risk factor within the subset group
                                                     “The cure cannot be worse than the problem itself.”                                                   unexposed to the K-shot and pregnancy vaccination)
                                                       - President Donald J. Trump, October 22, 2020, Presidential Debate                            Risk Factors in Total Population = 0.00%
                                                                                                                                                     This pilot survey provides numerical proof that vaccines
                                                                                                                                                     are causing an exponential increased risk of chronic
                                                         U.S. National data for approximately 99%+ Vaccinated Population                             control group of unvaccinated adults (as featured
                                                                                                                                                     on this chart) would be exponentially healthier than
                                                         infographic/chronic-diseases.htm)

                                                         Pilot survey data for 100% Unvaccinated Control Group                                       See full report for detailed explanation.
                                                            Unvaccinated but exposed to K-shot and/or maternal vaccination                       *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                                  finite population correction. Please see full report for all sample
                                                            Unvaccinated and unexposed to K-shot and maternal vaccination                         rates, equations, values, and methodology.
                                                                                                                 2                                                                 Exhibit A
      2020 Pilot Survey Data  Comparison
                        Case 2:20-cv-02470-WBS-JDP                                        Document 16-7 Filed 12/29/20 Page 21 of 218


      VACCINATED -VS - UNVACCINATED
                                                                                                                               Unvaccinated Population
                                                                                                                                   Risk Factor in Total Population = 0.0%
                                                                                          Heart Disease,                           This pilot survey provides numerical proof that
                                                                                                                                   vaccines are causing an exponential increased risk
                                                                                          Adults                                   that this large control group of unvaccinated adults
                                                        48%                                                                        (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                   healthier than vaccinated adults by mere chance:
                                                                                                                                   infinite / incalculable. This calculation is supported
                                  50                                                                                               by an infinitesimal p-value. See full report for
                                                                                                                                   detailed explanation.
                                  45

                                  40

                                  35

                                  30

                                   25

                                   20

                                   15                                                          0.00%
                                   10

                                       5

                                        0




                                            “The cure cannot be worse than the problem itself.”
                                             - President Donald J. Trump, October 22, 2020, Presidential Debate


                                               U.S. National data for approximately 99%+ Vaccinated Population

                                                                                                                               *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                               half-of-american-adults-statistics-show)                                         finite population correction. Please see full report for all sample
                                                                                                                                rates, equations, values, and methodology.
                                               Pilot survey data for 100% Unvaccinated Control Group
                                                                                                   3                                                             Exhibit A
      2020 Pilot Survey Data  Comparison
                        Case 2:20-cv-02470-WBS-JDP                                                  Document 16-7 Filed 12/29/20 Page 22 of 218


      VACCINATED -VS - UNVACCINATED
                                                                                                                                         Unvaccinated Population
                                                                                                                                             Risk Factor in Total Population = 0.0%
                                                                                                         Diabetes                            This pilot survey provides numerical proof that
                                                                                                                                             vaccines are causing an exponential increased risk


                                                           10%                                                                               this large control group of unvaccinated people
                                                                                                                                             (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                             healthier than vaccinated people by mere chance:

                                  10

                                   9

                                   8

                                   7

                                   6

                                       5

                                       4

                                       3                                                               0.00%
                                       2

                                       1

                                           0




                                               “The cure cannot be worse than the problem itself.”
                                                - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                  U.S. National data for approximately 99%+ Vaccinated Population

                                                  library/socialmedia/infographics/diabetes.html)                                        *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                          finite population correction. Please see full report for all sample
                                                                                                                                          rates, equations, values, and methodology.
                                                  Pilot survey data for 100% Unvaccinated Control Group
                                                                                                          4                                                                Exhibit A
      2020 Pilot Survey Data  Comparison
                        Case 2:20-cv-02470-WBS-JDP                                                                            Document 16-7 Filed 12/29/20 Page 23 of 218


      VACCINATED -VS - UNVACCINATED
                                                                                                                                                                   Unvaccinated Population
                                                                                                                             Digestive Disorders                       Risk Factor in Total Population = 0.40%
                                                                                                                                                                       This pilot survey provides numerical proof that
                                                                                                                                                                       vaccines are causing an exponential increased risk of
                                                                                       18%
                                                                                                                                                                       that this large control group of unvaccinated people
                                                                                                                                                                       (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                           18                                                                                                          healthier than vaccinated people by mere chance:

                                                                16
                              Percent of People with Disorder




                                                                14
                                                                                                                                                                       supported by the p-value 3.11E-116. See full report
                                                                12
                                                                                                                                                                       for detailed explanation.
                                                                10                                                                                                     Subsets
                                                                 8                                                                                                         1.09% (risk factor within the subset group that
                                                                     6                                                                 0.40%                                 received the K-shot and/or pregnancy vaccination)
                                                                                                                                                                             0.12% (risk factor within the subset group
                                                                     4                                                                                                       unexposed to the K-shot and pregnancy
                                                                                                                                                                             vaccination)
                                                                     2

                                                                     0




                                                                         “The cure cannot be worse than the problem itself.”
                                                                          - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                                            U.S. National data for approximately 99%+ Vaccinated Population

                                                                            health-information/health-statistics/digestive-diseases#all)
                                                                            Pilot survey data for 100% Unvaccinated Control Group
                                                                               Unvaccinated but exposed to K-shot and/or maternal vaccination                      *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                                                    finite population correction. Please see full report for all sample
                                                                               Unvaccinated and unexposed to K-shot and maternal vaccination                        rates, equations, values, and methodology.
                                                                                                                                           5                                                         Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                              Unvaccinated Population
                                               Eczema, Children                                                                                   Risk Factor in Total Population, Children = 1.49%
                                                                                                                                                  This pilot survey provides numerical proof that vaccines
                                                                                                                                                  are causing an exponential increased risk of eczema

                                  12           10.7%                                                                                              group of unvaccinated children (as featured on this
                                                                                                                                                  chart) would be exponentially healthier than vaccinated

                                                                                                                Eczema,
                                                                                                                Eczema, Adults
Percent of People with Disorder




                                  10                                                                                    Adults                    detailed explanation.
                                                                                                                                                  Subsets
                                   8
                                                                                                               7.2%                                   3.27% (risk factor within the subset group that
                                                                                                                                                        received the K-shot and/or pregnancy vaccination)
                                       6
                                                                                                                                                        0.36% (risk factor within the subset group
                                                                                                                                                        unexposed to the K-shot and pregnancy
                                       4                                                                                                                vaccination)

                                                        1.49%                                                                                     Risk Factor in Total Population, Adults = .95%
                                       2
                                                                                                                                                  This pilot survey provides numerical proof that vaccines

                                           0
                                                                                                                             0.95%                are causing an exponential increased risk of eczema

                                                                                                                                                  group of unvaccinated adults (as featured on this chart)
                                                                                                                                                  would be exponentially healthier than vaccinated


                                                                                                                                                  detailed explanation.
                                                                                                                                                  Subsets
                                                      “The cure cannot be worse than the problem itself.”                                             6.25% (risk factor within the subset group that
                                                       - President Donald J. Trump, October 22, 2020, Presidential Debate                               received the K-shot and/or pregnancy vaccination)
                                                                                                                                                        0.00% (risk factor within the subset group
                                                                                                                                                        unexposed to the K-shot and pregnancy
                                                                                                                                                        vaccination)
                                                         U.S. National data for approximately 99%+ Vaccinated Population


                                                         managed-care-setting/overview-of-atopic-dermatitis-article)

                                                         Pilot survey data for 100% Unvaccinated Control Group
                                                                                                                                              *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                            Unvaccinated but exposed to K-shot and/or maternal vaccination                     finite population correction. Please see full report for all sample
                                                                                                                                               rates, equations, values, and methodology.
                                                            Unvaccinated and unexposed to K-shot and maternal vaccination
                                                                                                                       6                                                        Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                       Unvaccinated Population
                                                                                                                                           Risk Factor in Total Population, Children = 0.71%
                                                                                                                                           This pilot survey provides numerical proof that
                                              Asthma, Children                                            Asthma, Adults                   vaccines are causing an exponential increased risk of

                                                                                                                                           control group of unvaccinated children (as featured
                                                                                                                                           on this chart) would be exponentially healthier than
                                              7.5%
Percent of People with Disorder




                                  8                                                                     7.7%                               supported by the p-value 3.31E-31. See full report for
                                  7
                                                                                                                                           detailed explanation.
                                                                                                                                           Subsets
                                  6
                                                                                                                                               1.64% (risk factor within the subset group that
                                                                                                                                                 received the K-shot and/or pregnancy vaccination)
                                      5
                                                                                                                                                 0.24% (risk factor within the subset group
                                      4                                                                                                          unexposed to the K-shot and pregnancy
                                                                                                                                                 vaccination)
                                      3
                                                                                                                                           Risk Factor in Total Population, Adults = 0.00%
                                      2
                                                                                                                                           This pilot survey provides numerical proof that vaccines
                                          1
                                                       0.71%                                                                               are causing an exponential increased risk of asthma in

                                          0                                                                               0.00%            group of unvaccinated adults (as featured on this chart)
                                                                                                                                           would be exponentially healthier than vaccinated


                                                                                                                                           detailed explanation.




                                                     “The cure cannot be worse than the problem itself.”
                                                      - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                        U.S. National data for approximately 99%+ Vaccinated Population
                                                                                                                                       *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                        finite population correction. Please see full report for all sample
                                                        Pilot survey data for 100% Unvaccinated Control Group                           rates, equations, values, and methodology.
                                                                                                            7                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                 Unvaccinated Population
                                                                                                                                     Risk Factor in Total Population = 1.10%
                                                                                                                                     This pilot survey provides numerical proof that
                                                                                             Food Allergy,                           vaccines are causing an exponential increased risk
                                                      6.5%                                   Children                                this large control group of unvaccinated children
                                                                                                                                     (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                     healthier than vaccinated children by mere chance:
                                  18

                                  16
                                                                                                                                     detailed explanation.
                                  14
                                                                                                                                     Subsets
                                  12                                                                                                     1.87% (risk factor within the subset group that
                                                                                                                                           received the K-shot and/or pregnancy vaccination)
                                  10
                                                                                                                                           0.71% (risk factor within the subset group
                                       8                                                                                                   unexposed to the K-shot and pregnancy
                                       6                                                              1.1%                                 vaccination)

                                       4

                                       2

                                       0




                                           “The cure cannot be worse than the problem itself.”
                                            - President Donald J. Trump, October 22, 2020, Presidential Debate


                                              U.S. National data for approximately 99%+ Vaccinated Population


                                              Pilot survey data for 100% Unvaccinated Control Group
                                                 Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                  finite population correction. Please see full report for all sample
                                                 Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                      8                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                Unvaccinated Population
                                                                                                                                    Risk Factor in Total Population = 1.24%
                                                                                                                                    This pilot survey provides numerical proof that
                                                                                           Developmental                            vaccines are causing an exponential increased
                                                    6.99%                                    Disabilities
                                                                                                                                    risk of developmental disabilities in America.
Percent of People with Disorder




                                                                                                                                    on this chart) would be exponentially healthier
                                  7

                                  6
                                                                                                                                    detailed explanation.
                                  5                                                                                                 Subsets
                                                                                                                                        2.97% (risk factor within the subset group that
                                  4                                                                                                       received the K-shot and/or pregnancy vaccination)

                                      3                                                            1.24%                                  0.32% (risk factor within the subset group
                                                                                                                                          unexposed to the K-shot and pregnancy
                                                                                                                                          vaccination)
                                      2

                                      1

                                      0




                                          “The cure cannot be worse than the problem itself.”
                                           - President Donald J. Trump, October 22, 2020, Presidential Debate


                                             U.S. National data for approximately 99%+ Vaccinated Population


                                             Pilot survey data for 100% Unvaccinated Control Group
                                                Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                 finite population correction. Please see full report for all sample
                                                Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                     9                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                  Unvaccinated Population
                                                                                                                                      Risk Factor in Total Population = 0.81%*
                                                                                                                                      This pilot survey provides numerical proof that vaccines
                                                                                                                                      are causing an exponential increased risk of diagnosed

                                                       3.0%                                    Birth Defects                          large control group of unvaccinated people (as featured
                                                                                                                                      on this chart) would be exponentially healthier than
Percent of People with Disorder




                                   3                                                                                                  full report for detailed explanation.
                                                                                                                                      Subsets
                                  2.5                                                                                                     1.96% (risk factor within the subset group that
                                                                                                                                            received the K-shot and/or pregnancy vaccination)
                                    2                                                                                                       0.29% (risk factor within the subset group
                                                                                                                                            unexposed to the K-shot and pregnancy
                                  1.5                                                                0.81%                                  vaccination)


                                        1


                                   0.5
                                                                                                                                       this pilot survey.
                                        0

                                                                                                                                      survey data shows that the risk of being born
                                                                                                                                      with birth defects within a maternal vaccine

                                                                                                                                      almost precisely to national data: the

                                            “The cure cannot be worse than the problem itself.”                                       (https://www.cdc.gov/vaccines/pregnancy/
                                             - President Donald J. Trump, October 22, 2020, Presidential Debate                       hcp-toolkit/maternal-vaccination-coverage.



                                               U.S. National data for approximately 99%+ Vaccinated Population
                                                                                                                                      of birth defects in the control group subset

                                               Pilot survey data for 100% Unvaccinated Control Group                                  provides corroborating evidence that maternal
                                                  Unvaccinated but exposed to K-shot and/or maternal vaccination                       vaccination
                                                                                                                                  *Total               is causing
                                                                                                                                          survey produced          a pandemic
                                                                                                                                                            99% Confidence Intervalrate  of birth
                                                                                                                                                                                    [5.95,5.99] without

                                                  Unvaccinated and unexposed to K-shot and maternal vaccination
                                                                                                                                   finite population
                                                                                                                                       defects        correction.
                                                                                                                                                  in the                                          !!
                                                                                                                                                           USA.Please see full report for all sample
                                                                                                                                   rates, equations, values, and methodology.
                                                                                                      10                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                   Unvaccinated Population
                                                                                                                                       Risk Factor in Total Population = 0.07%
                                                                                                                                       This pilot survey provides numerical proof that
                                                                                                                                       vaccines are causing an exponential increased risk
                                                       1.2%                                         Epilepsy
                                                                                                                                       this large control group of unvaccinated people
                                                                                                                                       (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                       healthier than vaccinated people by mere chance: 1 in
                                  1.2


                                    1                                                                                                  Subsets
                                                                                                                                           0.22% (risk factor within the subset group that
                                  0.8                                                                                                        received the K-shot and/or pregnancy vaccination)
                                                                                                                                             0.00% (risk factor within the subset group
                                   0.6                                                                                                       unexposed to the K-shot and pregnancy
                                                                                                                                             vaccination)

                                   0.4                                                                 0.07%
                                    0.2


                                         0




                                             “The cure cannot be worse than the problem itself.”
                                              - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                U.S. National data for approximately 99%+ Vaccinated Population

                                                Pilot survey data for 100% Unvaccinated Control Group
                                                   Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                    finite population correction. Please see full report for all sample
                                                   Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                       11                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
                        Case 2:20-cv-02470-WBS-JDP                                            Document 16-7 Filed 12/29/20 Page 30 of 218


      VACCINATED -VS - UNVACCINATED
                                                                                                                                   Unvaccinated Population
                                                                                                                                       Risk Factor in Total Population = 0.21%

                                                                                             Autism Spectrum                           This pilot survey provides numerical proof that
                                                                                                                                       vaccines are causing an exponential increased
                                                         2.5%                                    Disorder                              that this large control group of unvaccinated
                                                                                                                                       children (as featured on this chart) would be
Percent of People with Disorder




                                                                                                                                       exponentially healthier than vaccinated children by
                                  2.5


                                                                                                                                       for detailed explanation.
                                    2
                                                                                                                                       Subsets
                                                                                                                                           0.59% (risk factor within the subset group that
                                   1.5                                                                                                       received the K-shot and/or pregnancy vaccination)
                                                                                                                                             0.00% (risk factor within the subset group
                                                                                                                                             unexposed to the K-shot and pregnancy
                                        1
                                                                                                        0.21%                                vaccination)

                                    0.5


                                         0




                                             “The cure cannot be worse than the problem itself.”
                                              - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                U.S. National data for approximately 99%+ Vaccinated Population


                                                Pilot survey data for 100% Unvaccinated Control Group
                                                   Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                    finite population correction. Please see full report for all sample
                                                   Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                       12                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
                        Case 2:20-cv-02470-WBS-JDP                                                     Document 16-7 Filed 12/29/20 Page 31 of 218


      VACCINATED -VS - UNVACCINATED
                                                                                                                                            Unvaccinated Population
                                                                                                                                                Risk Factor in Total Population, Children = 0.47%
                                                         ADHD, Children                                                                         This pilot survey provides numerical proof that

                                  10
                                               9.4%                                                                                             vaccines are causing an exponential increased risk of

                                                                                                                                                control group of unvaccinated children (as featured
                                   9                                                                                                            on this chart) would be exponentially healthier than
Percent of People with Disorder




                                   8

                                   7                                                                               ADHD, Adults                 See full report for detailed explanation.
                                       6
                                                                                                                                                Subsets
                                                                                                                                                    0.47% (risk factor within the subset group that
                                       5

                                       4
                                                                                                             4.4%                                     received the K-shot and/or pregnancy vaccination)
                                                                                                                                                      0.47% (risk factor within the subset group
                                       3
                                                                                                                                                      unexposed to the K-shot and pregnancy
                                           2           0.47%                                                                                          vaccination)

                                           1

                                           0                                                                                 0.00%              Risk Factor in Total Population, Adults = 0.00%
                                                                                                                                                This pilot survey provides numerical proof that
                                                                                                                                                vaccines are causing an exponential increased risk

                                                                                                                                                this large control group of unvaccinated adults
                                                                                                                                                (as featured on this chart) would be exponentially
                                                                                                                                                healthier than vaccinated adults by mere chance: 1 in
                                                      “The cure cannot be worse than the problem itself.”
                                                       - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                         U.S. National data for approximately 99%+ Vaccinated Population




                                                         Pilot survey data for 100% Unvaccinated Control Group
                                                            Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                             finite population correction. Please see full report for all sample
                                                            Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                                13                                                            Exhibit A
     2020 Pilot Survey Data  Comparison
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     VACCINATED -VS - UNVACCINATED
                                                                                                                                      Unvaccinated Population
                                                                                                                                          Risk Factor in Total Population = 0.72%
                                                                                                                                          This pilot survey provides numerical proof that
                                                                                            Learning                                      vaccines are causing an exponential increased risk of
                                                     8.0%                                   Disabilities, Children                        that this large control group of unvaccinated children
                                                                                                                                          (as featured on this chart) would be exponentially
          of People with Disorder




                                                                                                                                          healthier than vaccinated children by mere chance:
                                    8

                                    7                                                                                                     See full report for detailed explanation.
  Percent of People with Disorder




                                    6                                                                                                     Subsets
                                    5
                                                                                                                                              1.48% (risk factor within the subset group that
                                                                                                                                                received the K-shot and/or pregnancy vaccination)
                                        4                                                                                                       0.32% (risk factor within the subset group
                                        3                                                         0.72%                                         unexposed to the K-shot and pregnancy
                                                                                                                                                vaccination)
Percent




                                        2

                                        1

                                            0




                                                “The cure cannot be worse than the problem itself.”
                                                 - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                   U.S. National data for approximately 99%+ Vaccinated Population




                                                   Pilot survey data for 100% Unvaccinated Control Group
                                                      Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                       finite population correction. Please see full report for all sample
                                                      Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                          14                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                   Unvaccinated Population
                                                                                                                                       Risk Factor in Total Population = 0.52%
                                                                                                                                       This pilot survey provides numerical proof that
                                                                                                                                       vaccines are causing an exponential increased risk of

                                                    5.0%                                 Speech Disorders,
                                                                                                                                       that this large control group of unvaccinated children
                                                                                         Children                                      (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                       healthier than vaccinated children by mere chance:
                                   5

                                  4.5                                                                                                  for detailed explanation.
                                    4
                                                                                                                                       Subsets
                                  3.5
                                                                                                                                           1.48% (risk factor within the subset group that
                                    3                                                                                                        received the K-shot and/or pregnancy vaccination)
                                   2.5                                                                                                       0.00% (risk factor within the subset group
                                                                                                                                             unexposed to the K-shot and pregnancy
                                        2                                                        0.52%                                       vaccination)
                                   1.5
                                        1
                                    0.5
                                         0




                                             “The cure cannot be worse than the problem itself.”
                                              - President Donald J. Trump, October 22, 2020, Presidential Debate



                                                U.S. National data for approximately 99%+ Vaccinated Population



                                                Pilot survey data for 100% Unvaccinated Control Group
                                                   Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                    finite population correction. Please see full report for all sample
                                                   Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                       15                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                 Unvaccinated Population
                                                                                                                                     Risk Factor in Total Population = 0.10%
                                                                                                                                     This pilot survey provides numerical proof that
                                                                                                                                     vaccines are causing an exponential increased

                                                   90%                                Ear Fluid (OME),                               this large control group of unvaccinated children
                                                                                      Children                                       (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                     healthier than vaccinated children by mere chance:
                                  90                                                                                                 infinite / incalculable. This calculation is supported
                                                                                                                                     by an infinitesimal p-value. See full report for
                                  80                                                                                                 detailed explanation.
                                  70                                                                                                 Subsets
                                  60                                                                                                     0.29% (risk factor within the subset group that
                                                                                                                                           received the K-shot and/or pregnancy vaccination)
                                  50
                                                                                                                                           0.00% (risk factor within the subset group
                                   40                                                                                                      unexposed to the K-shot and pregnancy
                                   30                                                         0.10%                                        vaccination)

                                   20

                                   10

                                       0




                                           “The cure cannot be worse than the problem itself.”
                                            - President Donald J. Trump, October 22, 2020, Presidential Debate



                                              U.S. National data for approximately 99%+ Vaccinated Population



                                              Pilot survey data for 100% Unvaccinated Control Group
                                                 Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                  finite population correction. Please see full report for all sample
                                                 Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                     16                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                     Unvaccinated Population
                                                                                                                                         Risk Factor in Total Population = 0.07%
                                                                                                                                         This pilot survey provides numerical proof that
                                                                                                                                         vaccines are causing an exponential increased risk

                                                     14.6%                                  Chronic Sinusitus
                                                                                                                                         odds that this large control group of unvaccinated
                                                                                                                                         people (as featured on this chart) would be
Percent of People with Disorder




                                  16                                                                                                     exponentially healthier than vaccinated people

                                  14

                                  12

                                  10                                                                                                     for detailed explanation.
                                       8                                                                                                 Subsets
                                                                                                                                             0.22% (risk factor within the subset group that
                                       6
                                                                                                  0.07%                                        received the K-shot and/or pregnancy vaccination)
                                       4
                                                                                                                                               0.00% (risk factor within the subset group
                                       2                                                                                                       unexposed to the K-shot and pregnancy
                                                                                                                                               vaccination)
                                           0




                                               “The cure cannot be worse than the problem itself.”
                                                - President Donald J. Trump, October 22, 2020, Presidential Debate



                                                  U.S. National data for approximately 99%+ Vaccinated Population



                                                  Pilot survey data for 100% Unvaccinated Control Group
                                                     Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                      finite population correction. Please see full report for all sample
                                                     Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                         17                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                     Unvaccinated Population
                                                                                                                                         Risk Factor in Total Population = 0.16%
                                                                                                                                         This pilot survey provides numerical proof that
                                                                                            Strabismus,                                  vaccines are causing an exponential increased
                                                       2.0%                                 Children                                     odds that this large control group of unvaccinated
                                                                                                                                         children (as featured on this chart) would be
Percent of People with Disorder




                                                                                                                                         exponentially healthier than vaccinated children
                                   2

                                  1.8
                                                                                                                                         report for detailed explanation.
                                  1.6
                                                                                                                                         Subsets
                                  1.4
                                                                                                                                             0.47% (risk factor within the subset group that
                                  1.2                                                                                                          received the K-shot and/or pregnancy vaccination)
                                       1
                                                                                                                                               0.00% (risk factor within the subset group
                                                                                                                                               unexposed to the K-shot and pregnancy
                                   0.8
                                   0.6
                                                                                                    0.16%                                      vaccination)

                                   0.4
                                    0.2
                                           0




                                               “The cure cannot be worse than the problem itself.”
                                                - President Donald J. Trump, October 22, 2020, Presidential Debate



                                                  U.S. National data for approximately 99%+ Vaccinated Population

                                                  preventblindness.org/strabismus/)

                                                  Pilot survey data for 100% Unvaccinated Control Group
                                                     Unvaccinated but exposed to K-shot and/or maternal vaccination                  *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                      finite population correction. Please see full report for all sample
                                                     Unvaccinated and unexposed to K-shot and maternal vaccination                    rates, equations, values, and methodology.
                                                                                                         18                                                            Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                 Unvaccinated Population
                                                                                                                                     Risk Factor in Total Population = 0.00%



                                                          0.04%                                   SIDS
Percent of People with Disorder




                                  0.04

                                  0.035

                                   0.03

                                  0.025

                                    0.02

                                   0.015
                                                                                                  0.00%
                                    0.01

                                   0.005

                                           0




                                               “The cure cannot be worse than the problem itself.”
                                                - President Donald J. Trump, October 22, 2020, Presidential Debate



                                                  U.S. National data for approximately 99%+ Vaccinated Population



                                                                                                                                 *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                  finite population correction. Please see full report for all sample
                                                  Pilot survey data for 100% Unvaccinated Control Group                           rates, equations, values, and methodology.
                                                                                                    19                                                             Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                                       Unvaccinated Population
                                                                                                                                           Risk Factor in Total Population, Adults = 0.00%
                                                                                                                                           This pilot survey provides numerical proof that
                                                                                                                                           vaccines are causing an exponential increased risk
                                              6.0%
                                                                                                                                           this large control group of unvaccinated adults
                                  6                                                                                                        (as featured on this chart) would be exponentially
Percent of People with Disorder




                                                                                                                                           healthier than vaccinated adults by mere chance:

                                  5                         Cancer, Adults

                                  4                                                                                                        Risk Factor in Total Population, Children = 0.00%
                                                                                                                                           This pilot survey provides numerical proof that
                                                                                                                                           vaccines are causing an exponential increased risk of
                                      3
                                                                                                           Cancer, Children                control group of unvaccinated children (as featured
                                                                                                                                           on this chart) would be exponentially healthier than
                                      2
                                                                                                                                           vaccinated children by mere chance: 1 in 86. This

                                      1                   0.0%                                                                             See full report for detailed explanation.

                                                                                                       0.35%
                                          0                                                                               0.0%



                                                     “The cure cannot be worse than the problem itself.”
                                                      - President Donald J. Trump, October 22, 2020, Presidential Debate


                                                        U.S. National data for approximately 99%+ Vaccinated Population


                                                        us-childhood-cancer-statistics/)                                               *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                                        finite population correction. Please see full report for all sample
                                                        Pilot survey data for 100% Unvaccinated Control Group                           rates, equations, values, and methodology.
                                                                                                          20                                                             Exhibit A
      2020 Pilot Survey Data  Comparison
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      VACCINATED -VS - UNVACCINATED
                                                                                                                             Unvaccinated Population
                                                                                                                                 Risk Factor in Total Population = 0.00%
                                                                                                                                 This pilot survey provides numerical proof that
                                                                                                                                 vaccines are causing an exponential increased risk
                                                                                        Arthritis                                this large control group of unvaccinated people
                                                                                                                                 (as featured on this chart) would be exponentially
                                                16.67%
Percent of People with Disorder




                                                                                                                                 healthier than vaccinated people by mere chance:

                                  18
                                                                                                                                 for detailed explanation.
                                  16

                                  14

                                  12

                                  10

                                       8

                                       6                                                   0.00%
                                       4

                                       2

                                       0




                                           “The cure cannot be worse than the problem itself.”
                                            - President Donald J. Trump, October 22, 2020, Presidential Debate


                                              U.S. National data for approximately 99%+ Vaccinated Population
                                                                                                                             *Total survey produced 99% Confidence Interval [5.95,5.99] without
                                                                                                                              finite population correction. Please see full report for all sample
                                              Pilot survey data for 100% Unvaccinated Control Group                           rates, equations, values, and methodology.
                                                                                                21                                                             Exhibit A
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                    Exhibit B
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                                  1                              Exhibit B
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                                  2                              Exhibit B
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                                  3                              Exhibit B
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                                  4                              Exhibit B
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                                  5                              Exhibit B
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                                  6                              Exhibit B
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                                  7                              Exhibit B
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                                  8                              Exhibit B
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                                  9                              Exhibit B
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                                 10                              Exhibit B
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                                 11                              Exhibit B
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                                 12                              Exhibit B
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                                 13                              Exhibit B
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                                 14                              Exhibit B
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                                 15                              Exhibit B
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                                 16                              Exhibit B
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                                 17                              Exhibit B
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                    Exhibit C
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 STATISTICAL EVALUATION OF HEALTH OUTCOMES IN THE UNVACCINATED
                            Full Report

                             By: Joy Garner
                          November 30th, 2020
                      The Control Group Pilot Study
                          TheControlGroup.org




                                   1                             Exhibit C
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                                  2                              Exhibit C
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                                  3                              Exhibit C
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                                  4                              Exhibit C
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                                  5                              Exhibit C
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                                  6                              Exhibit C
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                                  7                              Exhibit C
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                                  9                              Exhibit C
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                                 11                              Exhibit C
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                                 12                              Exhibit C
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                                 15                              Exhibit C
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                                 16                              Exhibit C
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                                 17                              Exhibit C
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                                            Measles Disease Mortality
                                                                                            United States, 1900–19601
                                      Rate Per 100,000




                                                                                                                                                                                          First Vaccine
                                                                                                                                                                                          Licensed (1963)



                                                                                                                               Year

SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
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Washington D.C. Public Health Foundation, 2015.
                                                                                                                                  1                                                                                                       Exhibit F
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                                          Diphtheria Disease Mortality
                                                                                            United States, 1900–19601
                                      Rate Per 100,000




                                                                                                                                                            Combination Diphtheria
                                                                                                                                                               Tetanus Toxoids
                                                                                                                                                               Licensed (1947)




                                                                                                                               Year

SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                                  Whooping Cough Disease Mortality
                                                                                     United States, 1900–19601,2
                                       Rate Per 100,000




                                                                                                                                                                          DTP Vaccine
                                                                                                                                                                        Licensed (1949)




                                                                                                                              Year


SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
Statistics, 1968. 2.

                                                                                                                                  3                                                                                                       Exhibit F
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                                                                                                  2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                                  Reductions Caused By Improved
                                                                                                  Living Conditions Prior To Vaccines


                                                                                                      Polio Disease Mortality
                                                                                                     United States, 1921–19701-6




                                                                                                                                                                                                                         Percent Vaccinated ----
                                                     Rate Per 100,000




                                                                                                                                         Year

SOURCES:
1.                                                                                                                                              2.
                                                     3.
                                                                                      4. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education,
and Welfare, Public Health Service, National Center for Health Statistics, 1968. 5.
                                        SOURCES:
                               6.
                                                1. Sirken,M.G. National Participation Trends, 1955-61, in the Poliomyelitis Vaccination Program.
                                                                                                                                            4                                                                                                           Exhibit F
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                                                            2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                            Reductions Caused By Improved
                                                            Living Conditions Prior To Vaccines


                                                   Varicella (Chicken Pox) Disease Mortality
                                                          United States, 1958–20111-10




                                                                                                                                       Percent Vaccinated ----
                         Rate Per 100,000




                                                                                Year
SOURCES:
1.                                                                                                                         2.
                                   SOURCES:                                                     3.
                                   1.5. 1959 - 1968: Centers for Disease4. Control. Annual summary 1969: reported morbidity and mortality     in
                                                                                                                                       6. 1996 - 2001: Centers for
                                                                                                                  7.
                                   the United States. Morbidity8.Mor-tality Weekly Rep 1970 ;18(54). https://stacks.cdc.gov/view/cdc/1829
                              10.
                                   2.9. 1969 - 1978: Centers for Disease Control. Annual summary 1971: reported morbidity and mortality in
                                   the2018.
Washington D.C.Public Health Foundation, United States. Morbidity Mor-tality Weekly Rep 1972 ;20(53). https://stacks.cdc.gov/view/cdc/1577
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                                   3. 1970 - 1979: Centers for Disease Control. Annual summary     1980: reported morbidity and mortality in                 Exhibit   F
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                                                                          2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                          Reductions Caused By Improved
                                                                          Living Conditions Prior To Vaccines

                           Varicella (Chicken Pox) Disease Mortality                                                            Varicella (Chicken Pox) Disease Mortality
                                   with Trendline (Linear)1-10                                                                       with Trendline (Exponential)1-10
     Rate Per 100,000




                                                                                                        Rate Per 100,000
                                                      Year                                                                                                       Year


                                                                                                                                                                        Data
                                                                                       Slope           -0.001644 to -0.0009384       zero?
                                                                                                                                     F                55.16
                                                     X-intercept   2015                X-intercept     2006 to 2030                  DFn,DFd          1,36
                                                                                                                                     P Value          < 0.0001
                                                                                       Goodness of Fit
                                                                                                                                     Deviation from
                                                                                       R square        0.6051



SOURCES:
1.                                                                                                                                                       2.
                                                                                                                           3.
                                                                              4.
                                      5.                                                                                                                                6. 1996 - 2001: Centers for
                                                                                                                                         7.
                                                                   8.
                                      9.
                              10.
Washington D.C.Public Health Foundation, 2018.
                                                                                                      6                                                                                       Exhibit F
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                 Disease Mortality, United States, 1900–19601
                                                                                                      No Vaccine in General Usage


                                        Tuberculosis (Respiratory)                                                                                                                             Typhoid Fever




                                                                                                                                        Rate Per 100,000
Rate Per 100,000




                                                                  Year                                                                                                                                     Year




SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                 Disease Mortality, United States, 1900–19601
                                                                                                      No Vaccine in General Usage


                                                       Scarlet Fever                                                                                                  Diarrhea and Enteritis (under 2 years)




                                                                                                                                        Rate Per 100,000
Rate Per 100,000




                                                                  Year

                                                                                                                                                                                                           Year


SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
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                                                                                           2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                           Reductions Caused By Improved
                                                                                           Living Conditions Prior To Vaccines


                                                                 Disease Mortality, United States, 1900–19601
                                                                                                      No Vaccine in General Usage


                                                Meningitis (Simple)                                                                                                                        Dysentry Disease




                                                                                                                                        Rate Per 100,000
Rate Per 100,000




                                                                  Year                                                                                                                                     Year




SOURCES:
1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National Center for Health
Statistics, 1968.
                                                                                                                                  9                                                                                                       Exhibit F
                                                          Case 2:20-cv-02470-WBS-JDP Document 16-7 Filed 12/29/20 Page 216 of 218
                                                                                             2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                                                                             Reductions Caused By Improved
                                                                                             Living Conditions Prior To Vaccines


                                                                    Disease Mortality, United States, 1900–19601
                                                                                                         No Vaccine in General Usage


                                                                Malaria                                                                                                                            Erysepilas
      Rate Per 100,000




                                                                                                                                        Rate Per 100,000




                                                                    Year                                                                                                                                  Year

 E: Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603,
gton, D.C. : U.S. Department of Health, Education, and Welfare, Public Health Service, National
                                                                                            SOURCE:  Center  for Health
                                                                                                        Grove,    R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 -
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s, 1968.
     1. Grove, R., D., Hetzel, A., M., (1968). Vital statistics rates in the United States, 1940-1960, pp 559 - 603, Washington,
                                                                                                                     Washington, D.C. : U.S.
                                                                                                                                         D.C.Department
                                                                                                                                                : U.S. ofDepartment
                                                                                                                                                          Health, Education,
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                                                                                                                                                                             Health,     Public Health Service, National Center
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     Statistics, 1968.
                                                                                                              Statistics, 1968.
                                                                                                                                  10                                                                                                   Exhibit F
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                                       2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                                       Reductions Caused By Improved
                                       Living Conditions Prior To Vaccines


                              Crude Death Rate
                                     United States, 1900–1996†
    Rate Per 100,000




                                                                                            principles and practices: AWWA manual M20. Denver, Colorado:




                                       Year
SOURCES:



                                                              11                                                                            Exhibit F
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                              2 0 T H C E N T U R Y D IS E A S E MO R TA L I T Y


                              Reductions Caused By Improved
                              Living Conditions Prior To Vaccines


           The 10 leading causes of death as a percentage of all deaths
                          United States, 19001 and 19972
                   1900                                                               1997




                Percentage                                                         Percentage


SOURCES:
1.
                                        2.

                                                     12                                         Exhibit F
